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                                                               December 5, 2024
 VIA ECF
 Hon. Lewis J. Liman
 United States District Court Judge
 United States District Court
 Southern District of New York
 United States Courthouse
 500 Pearl Street, Room 15C
 New York, N.Y. 10007-1312

         Re:     Igartua v. Good Grades, LLC
                 Case No. 1:24-cv-06575 (LJL)
                 Letter Motion for Extension of Time to Serve Defendant

Dear Judge Liman:

        Our office represents Plaintiff Juan Igartua ("Plaintiff") in the above-referenced Americans
with Disabilities Act ("ADA") matter against Defendant Good Grades, LLC ("Defendant"). We write
now to respectfully request that the Court issue an Order, nunc pro tunc, extending the time for service
upon the Defendants until December 30, 2024. We make this request pursuant to Federal Rules of Civil
Procedure 4(m) and 6(b)(1)(B), which allows for extensions on motion made after the time has expired
if the party failed to act because of excusable neglect. Should the Court grant this application, we
would further respectfully request that the Court schedule the initial conference for a date in late
January or early February 2025.

Procedural History

        By way of background, the instant matter was filed on August 30, 2024. The Summons was
issued on September 3, 2024 (ECF Dkt. 4). We sent the Summons and Complaint to our process
servers, Meridian Investigations & Security in Port Washington, New York, for service upon the
Defendants. Unfortunately, Meridian has not yet effectuated service upon the Defendants, despite our
resubmission of another copy of the Summons, Complaint, and relevant Exhibits related to this action.
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        Due to unforeseen staffing losses, including the head of ADA Division, Nathaniel Peckham,
Esq., and our ADA paralegal, Adaciris Montesino, we failed to realize that Defendants had not been
served until just this past week. We apologize to the Court for this oversight, and we will make sure
that this does not happen again moving forward.

       Based on the foregoing, we respectfully request that the Court issue an Order, nunc pro tunc,
extending the time for service upon the Defendant until December 30, 2024, and setting this matter
down for an initial conference in late January or early February 2025, on a date that is convenient to
the Court.

       We thank the Court consideration of this request.

                                                      Sincerely,



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